      Case 3:06-cr-05265-RBL          Document 42        Filed 06/22/06      Page 1 of 2



 1
 2
 3
 4
 5
 6
 7
 8                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 9                                      AT TACOMA
10
11       UNITED STATES OF AMERICA,
12                                                            CASE NO.CR06-5265RBL
                               Plaintiff,
13
                v.                                              ORDER GRANTING
14                                                              CONTINUANCE OF
15       JESUS CERVANTES-CAMACHO,                               TRIAL DATE
         EDDY RODRIQUEZ-SANTIAGO
16
17                             Defendant.
18
19         Defendant Cervantes-Camacho moves to continue the trial date. Pursuant to the affidavit of
20         Counsel, AUSA Jennings and Mr. Fieman do not object to the requested continuance. For the
21         reasons stated in the Affidavit of Thomas Campbell , the motion is GRANTED and the Trial
22         Date is CONTINUED to October 30, 2006.
23
24         In view of the foregoing, the court finds and rules as follows:
25         1. Failure to grant a continuance in this matter would deny the defense the reasonable time
26         necessary for effective preparation taking into account the exercise of due diligence. Title 18
27         U.S.C. §3161(h)(8)(B)(iv).
28         2. The ends of justice served by granting the requested continuance outweigh the interest of the
           public and the defendant in a speedy trial. Title 18 U.S.C. §3161(h)(8)(A). The period of delay
           resulting from this continuance from JULY 3, 2006 to OCTOBER 30, 2006 is excluded for
           speedy trial computation purposes under 18 U.S.C. § 3161(h)(8)(A) and (B) as this is a
           reasonable period of delay.

     ORDER -1
      Case 3:06-cr-05265-RBL       Document 42       Filed 06/22/06    Page 2 of 2



 1
 2
           ACCORDINGLY:
 3
           The Jury Trial is CONTINUED to Monday, OCTOBER 30, 2006 at 9:00 a.m.
 4
           The Pretrial Motion hearing, if needed, is rescheduled for OCTOBER 19, 2006 at 9:00 a.m.
 5
           The Motions Cutoff date is extended to SEPTEMBER 4, 2005.
 6
 7
 8


                                              A
           IT IS SO ORDERED this 22nd day of June, 2006.
 9
10                                            RONALD B. LEIGHTON
11                                            UNITED STATES DISTRICT JUDGE
12
13
14
15
16
17
18
19
20
21
22
23
     ORDER -2

24
25
26
27
28




     ORDER -2
